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                                            December 13, 2024

VIA ECF
Hon. Leda Dunn Wettre, U.S.M.J.
United States District Court
District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07102

           Re:    United States v. Apple Inc., Case No. 2:24-cv-04055 (JXN-LDW)

Dear Judge Wettre:

        This firm represents nonparty Garmin International, Inc. (“Garmin”) in the above-
referenced matter. Pursuant to Local Civil Rule 101.1(c), Garmin submits this application for
the pro hac vice admission of Eliot Turner of the law firm Norton Rose Fulbright US LLP, in
this matter. Plaintiff United States of America and Defendant Apple Inc. have consented to his
pro hac vice admission in this litigation.

       In support of the application, enclosed please find the following:
           • Certification of Eliot Turner
           • Certification of Mayling C. Blanco in support of the application for the pro hac vice
           admission; and
           • Proposed Consent Order Granting pro hac vice admission.

        Should the enclosed proposed form of Order meet with Your Honor’s approval, we
respectfully request that it be entered. Of course, should Your Honor or Your Honor’s staff have
any questions regarding the within informal application, please do not hesitate to contact us.

                                                Respectfully submitted,

                                                /s/ Mayling C. Blanco
                                                Mayling C. Blanco



cc:    All counsel of record (via ECF)
